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                                   PX 64                   FTC-MOBE-004141
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                                   PX 64                   FTC-MOBE-004142
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                                   PX 65                   FTC-MOBE-004143
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                                   PX 65                   FTC-MOBE-004144
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                                   PX 65                   FTC-MOBE-004145
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                                   PX 65                   FTC-MOBE-004146
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                                   PX 65                   FTC-MOBE-004147
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                                   PX 65                   FTC-MOBE-004148
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                                    PX 66                  FTC-MOBE-004151
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                                    PX 66                  FTC-MOBE-004153
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                                    PX 66                  FTC-MOBE-004154
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                                    PX 66                  FTC-MOBE-004155
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Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 1 of 4




   Search for an Enterprise in the Register

   Information of a corporation in the Enterprise Register

      Information as of 2017-04-06 4:31:49 p.m.


   Information

       Identification of the Enterprise


      Quebec enterprise number (NEQ)                1171564231

      Name                                          9336-0311 Québec inc.



       Home Address


      Address                                       2500-1751 rue Richardson
                                                    Montréal (Québec) H3K1G6
                                                    Canada


       Elected Residence


      Last name                                     Gervais

      First name                                    Alain




      Address                                       2500-1751 rue Richardson
                                                    Montréal (Québec) H3K1G6
                                                    Canada


       Registration


      Date of registration                          2016-01-26

      Status                                        Registered

      Date of updated status                        2016-01-26

      End date of existence                         End date of existence is not declared in the
                                                    Register.


       Legal Form


      Legal form                                    Corporation or company

      Date of incorporation                         Constitution 2016-02-01



https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                   5/16/2018
                                                  PX 67                           FTC-MOBE-004156
Case 6:18-cv-00862-RBD-DCI Document 3-101 Filed 06/04/18 Page 17 of 135 PageID 4274
Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 2 of 4

      Constituent                                           QUÉBEC: Business Corporations Act
      system                                                (RLRQ, C. S-31.1)
                                                            QUÉBEC: Business Corporations Act
                                                            (RLRQ, C. S-31.1)


       Update Dates


      Update date of the information                        2016-04-22

      Date of last declaration of update                    No annual statement of update has been produced to date.

      End date of the production period of the              2018-07-01
      annual declaration update of 2017



       Bankruptcy


      The company is not in bankruptcy.


       Merger and Split


      No merger or split has been declared.


       Continuation and Further Processing


      No continuation or further processing has been declared.


       Liquidation or Dissolution


      No intention of liquidation or dissolution has been declared.


       Economic Activity and Number of Salaried Employees

       1st Activity Sector


       Industry code (EAC)                                  8591

       Activity                                             Other education services

       Details (optional)                                   Digital and live business education seminar



       2nd Activity Sector


      No information had been declared.


       Number of Salaried Employees


      Number of employees in Quebec

      None


   Unanimous agreement, shareholders, directors, officers and powers of attorney




https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                                5/16/2018
                                                    PX 67                                FTC-MOBE-004157
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Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 3 of 4

       Shareholders



      First shareholder
      The first shareholder is majority.

      Last name                                           Lloyd McPhee

      First name                                          Matthew

      Address                                             B1-12-1 Soho Suites KLCC Kuala Lumpur Malaysia



       Unanimous Shareholders Agreement


      There is no unanimous shareholders agreement.


       List of Administrators


      Last name                                           Lloyd McPhee

      First name                                          Matthew

      Start date of the charge                            2016-02-01

      End date of the charge

      Current functions                                   President, Secretary

      Address                                             B1-12-1 Soho Suites KLCC Kuala Lumpur Malaysia



       Non-member Board Directors


      No non-member board directors have been declared.


       Power of Attorney


      No powers of attorney have been declared.



       Administrators of the Property of Others


      No administrators of the property of others have been declared.



   Establishments


      No establishments have been declared.


       Documents in Progress


      No documents are currently being processed by the Registrar of Companies.


   Document Index

       Saved Documents




https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                           5/16/2018
                                                  PX 67                             FTC-MOBE-004158
Case 6:18-cv-00862-RBD-DCI Document 3-101 Filed 06/04/18 Page 19 of 135 PageID 4276
Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 4 of 4

    Document Type                                                 Registration Filing Date
    Declaration of current update                                2016-04-22
    Declaration of current update                                2016-03-17
    Initial declaration                                          2016-01-26
    Certificate of incorporation                                 2016-01-26

   Names Index


       Date of names index update                                 2016-04-22




        Name


          Name            Versions of the Name       Date of Name       Date of declaration of   Situation
                           in Other Languages         Declaration        Name Withdrawal


        9336-0311                                  2016-02-01                                    In force
        Québec inc.




        Other names used in Quebec


          Other name         Versions of the Name     Date of Name      Date of Declaration of   Situation
                             in Other Languages        Declaration       Name Withdrawal


        Business          Business Education        2016-04-22                                   In force
        training          Training
        Business          Business Education         2016-03-17         2016-04-22               Previous
        training          Program




                                           © Gouvernement du Québec




https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                            5/16/2018
                                                    PX 67                            FTC-MOBE-004159
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Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 1 of 4




   Search for an Enterprise in the Register

   Information of a corporation in the Enterprise Register

      Information as of 2017-04-06 4:31:49 p.m.


   Information

       Identification of the Enterprise


      Quebec enterprise number (NEQ)                1171564231

      Name                                          9336-0311 Québec inc.



       Home Address


      Address                                       2500-1751 rue Richardson
                                                    Montréal (Québec) H3K1G6
                                                    Canada


       Elected Residence


      Last name                                     Gervais

      First name                                    Alain




      Address                                       2500-1751 rue Richardson
                                                    Montréal (Québec) H3K1G6
                                                    Canada


       Registration


      Date of registration                          2016-01-26

      Status                                        Registered

      Date of updated status                        2016-01-26

      End date of existence                         End date of existence is not declared in the
                                                    Register.


       Legal Form


      Legal form                                    Corporation or company

      Date of incorporation                         Constitution 2016-02-01



https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                   5/16/2018
                                                  PX 68                           FTC-MOBE-004160
Case 6:18-cv-00862-RBD-DCI Document 3-101 Filed 06/04/18 Page 21 of 135 PageID 4278
Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 2 of 4

       Constituent                                          QUÉBEC: Business Corporations Act
       system                                               (RLRQ, C. S-31.1)
                                                            QUÉBEC: Business Corporations Act
                                                            (RLRQ, C. S-31.1)


       Update Dates


      Update date of the information                        2016-04-22

      Date of last declaration of update                    No annual statement of update has been produced to date.

      End date of the production period of the              2018-07-01
      annual declaration update of 2017



       Bankruptcy


      The company is not in bankruptcy.


       Merger and Split


      No merger or split has been declared.


       Continuation and Further Processing


      No continuation or further processing has been declared.


       Liquidation or Dissolution


      No intention of liquidation or dissolution has been declared.


       Economic Activity and Number of Salaried Employees

       1st Activity Sector


       Industry code (EAC)                                  8591

       Activity                                             Other education services

       Details (optional)                                   Digital and live business education seminar



       2nd Activity Sector


      No information had been declared.


       Number of Salaried Employees


      Number of employees in Quebec

      None


   Unanimous agreement, shareholders, directors, officers and powers of attorney




https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                                5/16/2018
                                                    PX 68                                FTC-MOBE-004161
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Revenu Québec (Québec Tax Authority) Information of a Corporation in the Enterprise Register Page 3 of 4

       Shareholders



      First shareholder
      The first shareholder is majority.

      Last name                                           Lloyd McPhee

      First name                                          Matthew

      Address                                             B1-12-1 Soho Suites KLCC Kuala Lumpur Malaysia



       Unanimous Shareholders Agreement


      There is no unanimous shareholders agreement.


       List of Administrators


      Last name                                           Lloyd McPhee

      First name                                          Matthew

      Start date of the charge                            2016-02-01

      End date of the charge

      Current functions                                   President, Secretary

      Address                                             B1-12-1 Soho Suites KLCC Kuala Lumpur Malaysia



       Non-member Board Directors


      No non-member board directors have been declared.


       Power of Attorney


      No powers of attorney have been declared.



       Administrators of the Property of Others


      No administrators of the property of others have been declared.



   Establishments


      No establishments have been declared.


       Documents in Progress


      No documents are currently being processed by the Registrar of Companies.


   Document Index

       Saved Documents




https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                           5/16/2018
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Case 6:18-cv-00862-RBD-DCI Document 3-101 Filed 06/04/18 Page 23 of 135 PageID 4280
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    Document Type                                                 Registration Filing Date
    Declaration of current update                                2016-04-22
    Declaration of current update                                2016-03-17
    Initial declaration                                          2016-01-26
    Certificate of incorporation                                 2016-01-26

   Names Index


       Date of names index update                                 2016-04-22




        Name


          Name            Versions of the Name       Date of Name       Date of declaration of   Situation
                           in Other Languages         Declaration        Name Withdrawal


        9336-0311                                  2016-02-01                                    In force
        Québec inc.




        Other names used in Quebec


          Other name         Versions of the Name     Date of Name      Date of Declaration of   Situation
                             in Other Languages        Declaration       Name Withdrawal


        Business          Business Education        2016-04-22                                   In force
        training          Training
        Business          Business Education         2016-03-17         2016-04-22               Previous
        training          Program




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https://www.registreentreprises.gouv.qc.ca/RQAnonymeGR/GR/GR03/GR03A2_19A_PIU...                            5/16/2018
                                                    PX 68                            FTC-MOBE-004163
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                                    Certification of Translation Accuracy
Date: 17 May 2018
Certification Number: CTA34476
ISO 9001:2008 Certification Number: 14820/A/0001/UK/En


Prisma Project Number: 34476

Client: US Federal Trade Commission

Project: BCP Business Education Training



Source language(s):                         French (France) [FR-FR]




Target language(s) certified herein:        English (US) [EN-US]


Document(s) certified herein:              Business Education Training___www.registreentreprises.gouv.qc.pdf




To whom it may concern:
This letter certifies that translation of the above-referenced document(s) has been carried out by Prisma International
according to the quality Project Plan Workflow as contracted, and as such, represents a true and accurate rendering of the
source document(s).

This letter verifies that all steps in the Project Plan Workflow have been completed, with a copy of the original Project Plan
Workflow archived at Prisma International for a minimum of three years from the date on this certification.

Any questions may be directed to our office by phone (612) 338-1500 or e-mail certifications@prisma.com.



Kristine Mitchell
Prisma International Project Management Team




                                                         PX 68
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                                                                                          FTC-MOBE-004164
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                                                                                Australian Company

                                                                MATTLLOYDPUBLISHING.COM PTY LTD
                                                                                  ACN 162 580 770


Extracted from ASIC's database at AEST 06:57:13 on 25/05/2018

Company Summary
                                 Name: MATTLLOYDPUBLISHING.COM PTY LTD
                                  ACN: 162 580 770
                                  ABN: 51 162 580 770
                       Registration Date: 26/02/2013
                      Next Review Date: 26/02/2019


                                 Status: Registered
                                  Type: Australian Proprietary Company, Limited By Shares
           Locality of Registered Office: CARLISLE WA 6101
                              Regulator: Australian Securities & Investments Commission

Further information relating to this organisation may be purchased from ASIC.




25/05/2018 AEST 06:57:13
                                             PX 69                      FTC-MOBE-004165          1
Current details for ABN 51 162 580 770 | ABN Lookup                       Page 1 of 1
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   Current details for ABN 51 162 580 770
   ABN details
   Entity name:                       MATTLLOYDPUBLISHING.COM PTY LTD
   ABN status:                        Active from 26 Feb 2013
   Entity type:                       Australian Private Company
   Goods & Services Tax               Registered from 26 Feb 2013
   (GST):
   Main business location:            WA 6101


   ASIC registration - ACN or ARBN
   162 580 770 View record on the ASIC website


   Deductible gift recipient status
   Not entitled to receive tax deductible gifts

   ABN last updated: 03 Sep 2013                                         Record extracted: 25 May 2018



   Disclaimer
   The Registrar makes every reasonable effort to maintain current and accurate information on this
   site. The Commissioner of Taxation advises that if you use ABN Lookup for information about
   another entity for taxation purposes and that information turns out to be incorrect, in certain
   circumstances you will be protected from liability. For more information see disclaimer.




                                                  PX 69                    FTC-MOBE-004166
https://abr.business.gov.au/ABN/View?abn=51162580770                                          5/24/2018
MOBE PRO LIMITED - Overview (free company information from Companies House) Page 1 of 1
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                                         PX 70                FTC-MOBE-004167
https://beta.companieshouse.gov.uk/company/09763289                           5/25/2018
MOBE PRO LIMITED - Filing history (free information from Companies House) Page 1 of 1
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https://beta.companieshouse.gov.uk/company/09763289/filing-history              5/25/2018
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MOBE INC. :: OpenCorporates                                               Page 1 of 3
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 We're hiring! See jobs and apply here




 The Open Database Of The Corporate World
                              Search
    Companies            Officers      only in Panama

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 MOBE INC.
 Company Number
       812658
 Native Company Number
       812658S
 Status
       Vigente
 Incorporation Date
       29 August 2013 (over 4 years ago)
 Company Type
       SOCIEDAD ANONIMA
 Jurisdiction
       Panama
 Registered Address

           • PROVINCIA PANAMÁ
           • Panama

 Agent Name
       FERNANDO CASTILLO & ASOCIADOS
 Directors / Officers

           •   EMILIO MC ENTOSH, secretario
           •   EMILIO MC ENTOSH, director
           •   FERNANDO CASTILLO & ASOCIADOS, agent
           •   HUGO HENRIQUEZ, tesorero
           •   HUGO HENRIQUEZ, director
           •   JEROME MARK SEATON, director
           •   JEROME MARK SEATON, presidente
           •   LA SUSCRIPTORA 3, S.A, suscriptor
           •   LA SUSCRIPTORA 4, S.A, suscriptor
           •   SIN PERJUICIO DE LO QUE DISPONGA LA JUNTA DIRECTIVA, EL PRESIDENTE OSTENTARA LA
               REPRESENTACION LEGAL DE LA SOCIEDAD. EN AUSENCIA DE ESTE LA OSTENTARA EL SECRETARIO Y EN
               AUSENCIA DE ESTE EL TESORERO, representante

 Registry Page
      http://www.registro-publico.gob.pa/co...

 Source Registro Público de Panamá, http://www.registro-publico.gob.pa/co..., 2 Jan 2018
 Add data (website, address, etc)
  update from registry


 Explore company network




                                                         PX 71                             FTC-MOBE-004202
https://opencorporates.com/companies/pa/812658                                                        5/16/2018
MOBE INC. :: OpenCorporates                                               Page 2 of 3
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 Company network

 Not yet available for this company. Click to find out more

 Corporate Grouping User Contributed

 None known. Add one now?
 See all corporate groupings

 Similarly named companies

 Found 33. Showing first 10

     •     MOBE, INC. (Pennsylvania (US), 30 Aug 1976- )
     •     MOBE INC. (Delaware (US), 14 Apr 2004- )
     •     MOBE, INC. (Texas (US), 13 Feb 2017- )
     •     inactive Mobe-Villa Incorporated (Minnesota (US), 21 Sep 1972- )
     •     INTREPID MOBE, INC. (Pennsylvania (US), 31 Oct 1988- )
     •     inactive MOBE, INC. (Nevada (US), 6 Aug 2004- )
     •     inactive MOBE INC. (California (US), 11 Apr 1984- )
     •     inactive MOBE, INC. (Florida (US), 14 Jan 1993- )
     •     inactive MOBE, INC. (Florida (US), 6 Jun 2006- )
     •     MOBE GROUP INC INC. (Puerto Rico, 3 May 2016- )

 * While we strive to keep this information correct and up-to-date, it is not the primary source, and the company registry (see source,
 above) should always be referred to for definitive information
 Data on this page last changed January 19 2018

 Problem/question about this data? Click here

     Open Data

 Get this info as json, xml, rdf

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     •   Team
     •   Advisory board
     •   Jobs

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     •   What makes our data special
     •   Working for the public good
     •   Legal/Licence
     •   Contributing

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     •   Problems with our data?
     •   Temporary redaction

 Impact



                                                              PX 71                                 FTC-MOBE-004203
https://opencorporates.com/companies/pa/812658                                                                               5/16/2018
MOBE INC. :: OpenCorporates                                               Page 3 of 3
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   • Impact
   • Corporate network visualisations
   • Research




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https://opencorporates.com/companies/pa/812658                              5/16/2018
MNS Online Search                                                         Page 1 of 1
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     BACK TO PREVIOUS PAGE


    Information about MOBE ONLINE LTD

       COMPANY DETAILS


      File No.                                     C133151                                  Date Incorporated                     15/09/2015

      Name                                         MOBE ONLINE LTD                          Nature                                Private

      Category                                     GLOBAL                                   Sub-category                          GLOBAL BUSINESS CATEGORY 2

      Type                                         LIMITED BY SHARES                        Status                                Live

      Registered Office Address                    C/O THIBAUT INTERNATIONAL MGT LTD 5A WELLINGTON STREET ROSE HILL MAURITIUS




       DISCLAIMER NOTICE

     While we endeavour to keep the information up to date and as far as possible accurate, we cannot give any guarantee about the completeness, accuracy, reliability of the information
     contained on the report.




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                                                                                     PX 72                                                         FTC-MOBE-004205
https://portalmns.mu/MNSOnlineSearch/ViewCompanyInfo?doAction=displayInfo&orgN... 5/16/2018
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BUSINESS EDUCATION TRAINING LTD - Overview (free company information from... Page 1 of 2
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https://beta.companieshouse.gov.uk/company/10401893                           5/25/2018
BUSINESS EDUCATION TRAINING LTD - Overview (free company information from... Page 2 of 2
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                                         PX 74                 FTC-MOBE-004208
https://beta.companieshouse.gov.uk/company/10401893                           5/25/2018
BUSINESS EDUCATION TRAINING LTD - Filing history (free information from Com... Page 1 of 1
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https://beta.companieshouse.gov.uk/company/10401893/filing-history              5/25/2018
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                                    PX 74                 FTC-MOBE-004210
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                                    PX 74                 FTC-MOBE-004215
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                                    PX 74                 FTC-MOBE-004227
Detail by Entity Name                                                     Page 1 of 2
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                                                                                                 D I VI SION   OF   C ORPORAT IONS




    Department of State Division of Corporations Search Records Detail By Document Number


      Detail by Entity Name
      Florida Limited Liability Company
      SHARK SPEAKER, LLC
      Filing Information

      Document Number                        L15000208110
      FEI/EIN Number                         XX-XXXXXXX
      Date Filed                             12/15/2015
      Effective Date                         12/15/2015
      State                                  FL
      Status                                 ACTIVE
      Principal Address

      232 BAYSHORE DR.
      CAPE CORAL, FL 33904
      Mailing Address

      1217 CAPE CORAL PARKWAY E.
      # 135
      CAPE CORAL, FL 33904
      Registered Agent Name & Address

      WHITNEY, INGRID
      232 BAYSHORE DR.
      CAPE CORAL, FL 33904
      Authorized Person(s) Detail

      Name & Address

      Title MGR

      WHITNEY, RUSSELL W
      232 BAYSHORE DR.
      CAPE CORAL, FL 33904

      Annual Reports

       Report Year                Filed Date
       2016                       09/14/2016
       2017                       07/05/2017

      Document Images

       07/05/2017 -- ANNUAL REPORT                View image in PDF format

       09/14/2016 -- ANNUAL REPORT                View image in PDF format

       12/15/2015 -- Florida Limited Liability    View image in PDF format




                                                                      PX 75                 FTC-MOBE-004228
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=Entity... 5/24/2018
Detail by Entity Name                                                     Page 2 of 2
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                                       Florida Department of State, Division of Corporations




                                                  PX 75                                        FTC-MOBE-004229
http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=Entity... 5/24/2018
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                                    PX 75                  FTC-MOBE-004231
  Case
2016    6:18-cv-00862-RBD-DCI
     FLORIDA                     Document
             LIMITED LIABILITY COMPANY    3-101
                                       ANNUAL   Filed
                                              REPORT                                                                   06/04/18 Page 92 ofFILED
                                                                                                                                           135 PageID 4349
DOCUMENT# L15000208110                                                                                                                                Sep 14, 2016
Entity Name: SHARK SPEAKER, LLC                                                                                                                     Secretary of State
                                                                                                                                                     CC0484849856
Current Principal Place of Business:
232 BAYSHORE DR.
CAPE CORAL, FL 33904


Current Mailing Address:
1217 CAPE CORAL PARKWAY E.
# 135
CAPE CORAL, FL 33904

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
WHITNEY, INGRID
232 BAYSHORE DR.
CAPE CORAL, FL 33904 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGR
Name                   WHITNEY, RUSSELL W
Address                232 BAYSHORE DR.
City-State-Zip:        CAPE CORAL FL 33904




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: RUSSELL WHITNEY                                                                                             MGR                                                09/14/2016
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date




                                                                                          PX 75                                               FTC-MOBE-004232
  Case
2017    6:18-cv-00862-RBD-DCI
     FLORIDA                     Document
             LIMITED LIABILITY COMPANY    3-101
                                       ANNUAL   Filed
                                              REPORT                                                                   06/04/18 Page 93 ofFILED
                                                                                                                                           135 PageID 4350
DOCUMENT# L15000208110                                                                                                                                Jul 05, 2017
Entity Name: SHARK SPEAKER, LLC                                                                                                                     Secretary of State
                                                                                                                                                     CC8569834727
Current Principal Place of Business:
232 BAYSHORE DR.
CAPE CORAL, FL 33904


Current Mailing Address:
1217 CAPE CORAL PARKWAY E.
# 135
CAPE CORAL, FL 33904

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
WHITNEY, INGRID
232 BAYSHORE DR.
CAPE CORAL, FL 33904 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGR
Name                   WHITNEY, RUSSELL W
Address                232 BAYSHORE DR.
City-State-Zip:        CAPE CORAL FL 33904




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: RUSSELL W WHITNEY                                                                                           AGENT                                              07/05/2017
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date




                                                                                          PX 75                                               FTC-MOBE-004233
North Carolina Secretary of State Search Results                          Page 1 of 1
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  • Upload a PDF Filing • Order a Document Online • Add Entity to My Email Notification
  List • View Filings • Print an Amended a Annual Report form • Print a Pre-Populated Annual
  Report form


  Limited Liability Company

  Legal Name
  Geer Up Marketing LLC


  Information

  SosId: 1421854
  Status: Admin. Dissolved
  Annual Report Status: Not Applicable
  Citizenship: Domestic
  Date Formed: 1/14/2015
  Registered Agent: Zanghi, Susan G


  Addresses

    Mailing                   Principal Office         Reg Office
    8207 Golf Ridge Dr        8207 Golf Ridge Dr       8207 Golf Ridge Dr
    Charlotte, NC 28277       Charlotte, NC 28277      Charlotte, NC 28277


    Reg Mailing
    8207 Golf Ridge Dr
    Charlotte, NC 28277


  Company Officials

  All LLCs are managed by their managers pursuant to N.C.G.S. 57D-3-20.




                                           PX 76                        FTC-MOBE-004234
https://www.sosnc.gov/online_services/search/Business_Registration_Results           5/24/2018
Case 6:18-cv-00862-RBD-DCI DocumentATTENTION:
                                    3-101 Filed 06/04/18 Page 95 of 135 PageID 4352
                              Home Business Entrepreneurs ...


                          How To Leverage A Proven, Profitable
                            Business Model And Make Up To
                              50% Commissions Per Sale

                      WITHOUT Creating Your Own Products
                         WITHOUT Picking Up The Phone &
                       WITHOUT Dealing With Customers




                 From the desk of Matt Lloyd:

                 Dear Home Business Entrepreneur

                 You·re on this page for a reason

                 You·re looking for a way to make an add1t1onal income

                  ✓ a second income that may eventually replace your job

                  ✓ a reliable income that will provide you (and your family) with security

                  ✓ an independent income free of alarm clocks. office politics. and traffic


                 The •onllne· model seems perfect _

                  ✓    you can do 1t 1n your spare !Jme

                  ✓   _you can work from home
                  ✓   _it requires none of the start-up costs of traditional "brick and mortar businesses

                 But there's one BIG problem

                 You don't kl10w who to trust

                 Likely you've seen a ton of products out there ranging from flashy'push button
                 nches" software to "how to· training programs that all promise to make you rich overnight

                 But there's very little proof that any of 1l actually WORKS. or that ii is a viable business
                 model

                 I understand your skepticism

                 You see. I've been there.

                 When I started out in this business. I spent tens of thousands of dollars on products and
                 programs that ended up doing NOTHING for me

                 Why didn't they work?

                 Because there wasn't a REAL business behind ,t

                 The company I bought these progr.ams from wa.sn'l entirely ethic.al and more than that.
                 they hadn't put in the work to build a sound business.

                 You sec. al the end of the day, it doesn't matter if you're selUng <;Ompulers or information
                 produ<;ts you need lo apply the same fundamental business principles

                 And once you get past all the hype the only companies that stick around in lh1s industry are
                 lhe ones that build a proven business model and know what they can spend lo acquire a
                 customer and what they can expect to earn in revenue for the Lifetime of that customer.

                 Unfortunately. those companies are few and far between

                 Fortunately for you my company MOBE 1s one of the most reliable <and fastest growing)
                 companies in the home business niche in the entire world



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                                             A DrnHon Drnfi+::i.hlo
                                                                                                          FTC-MOBE-004235
                                              r, I    l....,V ...... 111 I   IV'II~"""' "'......

Case 6:18-cv-00862-RBD-DCI Document 3-101 Model
                               Business    Filed 06/04/18 Page 96 of 135 PageID 4353
                 Over the past few years I've built a business model that has taken me from making
                  $700/per month to upwards of $2 million per month. and it's showing no signs of slowing
                 down. I built this business model the old fashioned way Through hard work and sweat And
                 what I'm offering you here. is a way to leverage this tested and proven model

                 All you have to do is send traffic to my offers. and I'll take care of everything else. My online
                  marketing funnels will convert your leads into buyers and you will get up to 50%
                 commissions on ALL front-end sal es. Here's how it works _




                                          A 5-Step Profit Machine
                 Step 1: I give you access my Best-Selling Products These are the 'cream of the crop·-my
                 all-time BIG CASH generators.

                  Ste p 2: I show you how to drive traffic to these offers quickly and easily.

                 Step 3: I provide you with the marketing materials you can use to turn traffic into leads that
                 convert

                 Step 4: You get up to 50% commissions on front end sales e g for a product priced at
                  $1997. your commission works out to $998.50 per sale

                  Ste p s: Promote MOSE products and watch the sales roll in.

                  It's not uncommon for a single customer to buy over $5,000 dollars worth of products from
                  me over a couple years. Most ·gurus· would give you 10% of the front-end sale <instead of
                  50%) and you wouldn't see one thin dime of the rest of the money that came from YOUR
                 customer

                  However. when you become a MOBE Consultant. you could literally make thousands of
                 dollars off the same customer because they gel tagged lo your account

                 This is one of the reasons why MOBE is so re volutionary I'm literally flipping the normal
                 affiliate model on its head and giving you direct access to my multi·million dollar business

                  Even just 2 sales of one of my backend offers in your first 30 days could make you over
                 $2.500 for the month And every single customer you bring in could result in even more over
                 the next couple years




                         MOBE Marketing System: Leveraging The
                    Power Of A Tested & Proven Business Model




                 When you join the MOBE Marketing System Program _

                  t/'   Yuu lev~rdye lh~ pow~r uf d l~~teu l.Ju~irie~~ 111utJel lhdl i~ pruv~ri tu bring in sales un
                        auto-pilot

                  ti'   You have access to some of the highest-converting products in the home business
                        niche. These are my "bread and butter" products that make me (and will make you) the
                        most money.

                  ti'   You get all the benefits of an establ ished online business WITHOUT having to create
                        products of your own, WITI !OUT doing any selling, and WITHOUT dealing with
                        customers, merchant account, and refunds.

                  ti'   You get a pre-built online "infrastructure" web sites. landing pages. follow up
                        systems. tracking. ad placement. hosting. etc. I've already built everything FOR YOU so
                        you'll never have to write a line of code or worry about building a website

                  ti'   You can ·rest easy· knowing that my sales process is working 24 hours a day. 7 days a


                                                            PX 77                                           FTC-MOBE-004236
                        week. 52 weeks a year on your behalf converting your leads in buyers again and again
                        and consistentlypaying out commissions.
Case 6:18-cv-00862-RBD-DCI          Document
                  With MOBE, you're essentially getting3-101           Filed business
                                                       11.c cess to 11 pre-built 06/04/18        Page 97 of 135 PageID 4354
                                                                                      lhal is already
                          making money All you have lo do ,s "plug m· by promoting my products

                          Now let me explain _




                                              How To Get 50% Commissions
                          With MOBE you will have access to my Best-Selling Products U1at you can promote and get
                          between 10-50% commissions 11.s 11 standard consultant.

                          Now this model 1s infinitely betterlhan any other ·onllne marketing· model because
                          everything ,s DONE FOR YOU and you still get all the benefits-and comm1ss1ons-from a
                          successful business with a proven product lino

                          In fact. this model works so well that is has resulted in over S10 MILLION in commissions
                          paid oul lo my partners




                                                                           Want Proof?

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                                           Wh&n I got chdttang IO MUI onllne 4t''ld he ll'Mlll~ Uldt I ~ UcW6li tis p,oduct'i and
                                sutc~lul.
                                '  '      Selle:, h:Jtinels I Wt'l~ qudl!- lntM'eslP.d I 4'1ll tJdTYlll I was .-11:;.o a bll ~ltmt bP.Cd1,.,15e I 1i:,.tlly didn't
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                                           My name~ Anoroa Gooc!..a.a I am a stay bl nomo mom of tnrooaoa I wo ,n Galf'K.6v1UO Flo1KJa.
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                                Goodsditt c..-.v111e F<



                                 Here are two VERY successful partners of mine, John Chow & Terry
                                  Lamb. holding commission checks for $1,079,592 and $225,813.



                                                                                                                                  THE     E
                                                                                                                                  HOMEBUSIN
                                                                                                                                  suMMI
                                                                                   PX 77                                                                             FTC-MOBE-004237
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                                                    John Chow-$1 ,079,592




                                                       Terry Laml>-$225,813

                           Note: Both John and Terry are ·pos11Joned" at a higher level m MOBE. After
                           you get started with my MOBE Marketing System. I'll explain how you can
                           get positioned at these higher levels and earn even BIGGER comm1SS1ons of
                           over $3,000 to $10.000 without any extra work (these sales are also made by
                           the phone sates team FOR YOUJ.

                           Disclaimer: I also want to be clear that John and Terrys results are not
                           typical These partners both took MOBE and ran w,th It. most people w1U not
                           put in the same amount of ti me and effort But for those that do. the earnings
                           potenual 1s VERY exciting

                           So. at this point you're probably wondering _




                  "Alright, Matt. So what exactly do I get with
                          the MOBE Markting System?
                 Here's everything you get when you join the MOBC Marketmg System

                 0    Ufetime Rights To My Best-Setung Products ($10,000 value)


                 Most rights are temporary and can be revoked at any time. Even a franchisee operating a
                 McDonald's has to repay every smgle year to have their rights reinstated. I ongmally was
                 only going to make this available for one year. but I realized that if I want lifetime members. I
                 should offer a Ufellme solution If the demand keeps growing though. I may change my
                 mind


                 Q    10-50% Commissions On Front-End Sates


                 For each front-end sale we generate from your leads, you will get between 10-50%
                 commissions. We have tested and tweaked every aspect of the malketlng for these front-
                 end products and they flat-out converl If you bring m leads. they're practically guaranteed
                 to sell


                 C,   MOBE Sites: 7-Minute Lead Capture Pages Tool


                 As a consultant. you'll also gain 1mmecftate access to MOSE Sites. our easy-to-use software
                 that allows you to leverage pre-built sales funnels that have been proven to convert.

                 MOSE Sites enables you to create and customize a variety of beautiful marketing pages.



                                                          PX 77
                 including opt in pages sales pages. launch pages. live event pages. membership pages
                 thank you pages even order forms and traditional home pages If you can drag and drop.   FTC-MOBE-004238
                 you can use !his software lo quickly grow your business
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                   0 Elite Earners Weekly Webinars
                 Every week. the top earning MOBE Consultants will host a webinar. and show you exactly
                 what they're doing to bring in lhe big bucks

                 PLUS ...




                                                           BONUS#1
                 "Done For You· MOBE Landing Page• 11-Part Email Auto-responder (5197 value>

                 The Is the EXACT landing page I used to generate well over u2.ooo leads for the products
                 you're abcut to get access to. and the same u-part email sequence that has sold S100.ooos
                 worth of those products on auto pilot Now yours to use and promote for a commission




                                                           BONUS#2
                 My Complete O.T.O. Funnel ($497 value)
                 This -one time offer" funnel will allow you to instantly TRIPLE your profits without any extra
                 work Immediate upsclls. or ·one time offers· maximize profits by putting products in front of
                 buyers when they're most likely to buy (right after they buy something else> This funnel
                 contains all four of the main MOBE products you'll get access to and has been engineered
                 to maximize your commissions

                 But Il occurred to me that you might be thinking, Matt. all of this sounds great. but I think I'll
                 need some help sending traffic I'm nol sure I have enough experience· That is why I
                 Included BONUS 113




                                                           BONUS#3
                 Tr.,ffic Mosters Ac.,demy: (Value $297)
                 The only traffic program on the ma rkel that shows you what
                 REAL consultants have done to earn MIllIons ot Dollars In
                 documented commIssIons. Learn 6 traffic methods you can use
                 to get new customers now. PPC (Pay Per Click). Video Marketing,
                 Banner Ads. Pay Per View (PPV>. Solo Ads. Blogg1ng and two
                 bonus traffic generators. Warm Market and Direct Mail




                                                           BONUS#4
                 MOBE Licensing Kit: (Value S2g7)
                 The MOBE Licensing Kit is an in-de plh. but ·easy to consume
                 training course that will leave you with the knowledge and
                 expertise In licensing other peopte· s products so you can make                           Ll<' ENSJNG
                 money without creating anything yourself
                                                                                                     " ~
                                                                                                   l~v.1""6
                                "Ok, Matt. This all sounds great ...
                                  but how much does it cost?"
                 Well. the amount of money you can make wilh MOBE is almost limitless

                 Even just 2 backend sales in your first 30 days bring you over $1,500 In commissions for the
                 month

                 And every single customer you b1ing in could result In thousands over the nexl couple
                 years

                 You could potenbally make thousands every single month averaging LESS than 1 sale per
                 day doing this

                 And if you add up lhc value of everything you get with MOBE. 1t comes lo a real world value
                 of over S10.000 So. I would be justified charging S5.000 or more for MOBE


                                                             PX 77
                 In fact most companies DO charge over $5,000 to licenseJust a single product But like I've          FTC-MOBE-004239
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Case 6:18-cv-00862-RBD-DCI
                   million a year. Document 3-101 Filed 06/04/18 Page 100 of 135 PageID 4357
                    And I can't do that by charging $5,000 up front. I know that we will BOTH make a lot of
                    money together once you start bringing in leads. and I don't want money to stop you from
                    getting started

                    If you join today, the fee for the MOBE Marketing System Program is ONLY $2491 •
                    $19 95/mo (starting in 30 days).

                    Note: I reseNe the right to raise the price for this program at any lime.

                    You could easily make up this fee within the first 30 days of joining MOBE _ maybe even
                    within the first 2 weeks.

                    Compared with the years and tens of thousands of dollars it would cost you to build an
                    online business on your own $2497 is a steal

                    Heck. people have paid more than $2497 for products inferior to the training programs that
                    you're getting thrown in absolutely FREE!

                    Now. there is also a $19 95 per month fee for the MOBE Marketing System program. 519,95
                    per month (starting in 30 days) gets you access to:

                    1. Consultant Member's Area: In your exclusive Member's Area. you'll get         private.
                       specialized training and content. including access to my entire "Inner Circle Vault· This
                       treasure trove includes some or the best training materials ever assembled in one place
                       You'll learn copywriting secrets. proven conversion "recipes." time management
                       techniques. traffic strategies. affiliate "domination· tricks. million dollar blogging tactics.
                       solo ad 'hacks." and much, much more

                    2 MOBE Sites 7- Mlnute Lead Capture Pages: Get access to MOBE Sites. our easy to -use
                      software that allows you to leverage pre built sales funnels that have been proven to
                       convert

                    3. Consultant Insider: This is a physical printed newsletter that arrives in your mailbox every
                       month (you also get a digital version) Your Consultant Insider Newsletter is /am-packed
                       with the most current traffic generation and online marketing tactics available today
                       Your newsletter will includes ground-breaking case studies and "real world" test results
                       As you know. the online ·game· in always changing and you need to stay ·on your toes·
                       to be successful. We are constantly testing and tweaking to determine what's working
                       right NOW Keep your subscription current and we will present this information to you so
                       you will never be "left behind· Note The Consultant Insider normally sells for $97/mo by
                       itself.

                    4 Elite Earner's Training: <S91 value) Every week. we'll feature a different expert who is
                       making at least $10.000 per month with MOBE You'll get a special access code each
                       week for a 1-hour online class where you will be able to "look over the shoulder· of guys
                       like John Chow and see exactly what they do to make the insane amounts ofmoney they
                       make onLine. These Elite Earners will often reveal brand-newways to find dirt- cheap
                       leads that turn into GOLD, and other "ninja" tactics for increasing your MOBE
                       commissions. Just ·copy and paste· what these Elite Earners show you and you can
                       easily DOUBLE your monthly commissions. You'll also get instant access to a Million-
                       Dollar Archive of all past Elite Earner's calls (And don't worry if you miss a call. it will be
                       in the archives within 24 hours) Note· This training normally sells for S97/mo by itself

                    Now. S19 95/mo is clearly NOTHl~G compared to the mtlssive- Vtllue-and extra
                    commissions you'll be getting from your MOBE Marketing System membership.

                    But. with that said You are under NO OBLIGATION to continue paying S19.95/mo if you
                    decide you don't want to

                    Nor:ontrr1d<.


                    You can cancel at anytime.

                    But that's not all_ rm so confident that the MOBE Marketing System is going to work for you
                    <and that we're going to make a lot of money together>. that rm willing to make your one-
                    time $2497 fee a _


                          RISK-FREE FULLY- REFUNDABLE 'GOOD
                                     FAITH' DEPOSIT




                                                            PX 77                                               FTC-MOBE-004240
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                  This is where I go from ·risky" to "downright insane." according to my colleagues

                  I'm giving you a chance to not only go through all of my products at a fraction of the price.
                  but make tons of money at my expense

                  I believe 1n over-deUvenng, so rm going to make this ridiculously easy for you

                  If after lZ months (yes. not 30 days: you get a full iz months>. you can show me proof that
                  you've implemented at least three of the proven paid traffic strategies taught 1n the Traffic
                  Masters Academy training area consistently for each of the lZ months and you haven't made
                  a sale. I will gladly give you a FULL refund Just email my office with the required proof and
                  you'll receive a full refund and I'll thank you for trying out our partnership

                  ' Required proof: receipts from paid traffic screcnshots from your affiliate back office
                  showing clicks, etc from each of the 12 months

                  So yes, I am literally swallowing all the risk here for you rm not sure how I could make this
                  better Even without a guarantee you are getting the deal of a lifetime and with the
                  guarantee included. this 1s a clear no-bralner dec1s1on




                                   BUT WAIT!
                     What If I Told You That You Could Get
                   Access To The MOBE Marketing System For
                                     FREE?
                    Achieve Even GREATER Results With BIGGER Commissions
                                  By Becoming MOBE Certified


                  Anyone can become a Standard Consultant and promote the maJonty of front end products
                  through MOBE Marketplace at www.MOBEmarketplace.com and earn between 10~, • t,0%
                  commissions.

                  However if you wish to earn commissions of 10% go% on products PLUS have our phone
                  sales learn selling products for you on the back end with commissions of $1.250. $2,500.
                  SJ.JOO, $5.500 and even $10,000 per sale, then you should read on about the MOBC
                  Certification Program




                                    How To Get go% Commissions
                  As a MOBE Certified Consultants you earn 10-90% commissions on a larger selection of
                  products

                    PLUS up to $1,625 for each backend sale that my phone sates team closes roR YOU
                  without you ever having lo pick up the phone

                  Now. why do you get go% Instead of the full 100%?

                  Well. I had a choice when setting up this program I could either

                  1 Give you full comm1ss1on for all sales but also require YOU to handle customer service
                     pay merchant fees. run your own phone sales team. de<1l with technical issues, m<1nage a
                     staff of 150• people. and charge you for hos.ting and website fees.

                  2. Take Just 10~. of sales coming in and handle all of that for you so you could concentrate
                     on sending traffic and making easy money

                  I thought you'd prefe1 the second choice. To be honest. 10% doesn·t quite cover everything I
                  have to pay for in taking care of a new customer _ but I'm Ok wrth a loss up front because I


                                                              PX 77                                                   FTC-MOBE-004241
                  know I'll be making money on tho back-end

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Case 6:18-cv-00862-RBD-DCI           Document
                   the month. And every single customer3-101
                                                       you bring in Filed    06/04/18
                                                                    could result                 Page
                                                                                 in S3.300 to S5.500       102 of 135 PageID 4359
                                                                                                     (or more)
                            over the next couple years

                            Let's do some simple math. Take a look at the chart below and you'll quickly see the
                            potential here Remember, the numbers shown here are YOUR commissions.


                                 Front End Sales           Income         Bi ck End Sale,            Income                    Total

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                                                   53,207 860

                                                   $8,41520
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                                                                      6
                                                                                            S3,000

                                                                                            SS,000
                                                                                                      --      --  SG.X>7 60

                                                                                                                  $ 12,415 20
                                                                                                                                       -

                            Now, this is just an estimate of possible earnings _ but you could potenti21lly m21ke
                            $12,415.20 every single month averaging LESS than 1 sale per day. That's more than some
                            doctors and lawyers make! That's the raw powerof this business model at work

                            Imagine what your life would be like if you were made just HALF of that-$6,207.60-every
                            month.

                            That works out to $74,49120 every year in additional income!

                            What would that money do for you and your family?

                            What would it do for your quality of life to be able lo afford nice things. buy a new car or
                            bigger house. pay off your debt. and go on vacation when and where you want to?

                            I can tell you that my Life has been improved by leaps and bounds-from ·scraping by·
                            mowing lawns to where I am now.




                                  My Exclusive, Limited-Time Offer To You
                            I want to share with you the same opportunity as my top earner's who have higher level
                            positioning and have been able to achieve total lifestyle. time and money freedom

                            So. for a limited time only. I am willing to waive the fee for the MOSE Marketing System if
                            you take action now and sign up for our entry level MOSE Silver Certification

                            When you become MOSE Certified. you can dramatically increase the commissions you gel


                            0     10-90% Commissions On Front- End Sales & Up To $1,250 On Backend Sales


                            Remember the Potential Earnings Chart at the beginning of this letter?

                            You could potentially make $12,415.20 e very single month averaging LESS than 1 sale per
                            day doing this.

                            But you ONLY quaLify for those commissions if you apply to become a MOSE Certified
                            Consultant

                            Think of this way. you'll be leaving money on the table if you DON'T stay get certified

                            These sales are already being made to your leads. you just have to "claim" the commissions

                            As a MOSE Certified Consultant. you not only have access lo larger commissions but you
                            will also get four of my most popular programs for your own personal use (a $1,467 value>
                            thrown in absolutely FREE. (Note: T hese are the same products you'll also be getting
                            commissions on.> You will get _


                            f)    Four of My Most Popular Programs For Your Personal Library


                            When you join MOBE. you will get four of my most popular programs for your own personal
                            use (a $1,467 value) thrown in absotutely FREE. (Note: These are the same products you'll
                            also be getting commissions on.> You will get _




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                                                                                                                         .-".'
                            My Email Marketing Empire ($194 value)

                            This program reveals how to turn a mailing list into a non-stop ATM
                            through a series of step-by-step online training DVDs of the most
                            effective email marketing strategies in use today. These are the
                            same "tips and tricks· that I use to convert leads into cash-in-hand
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                                                                     PX 77                                                        FTC-MOBE-004242
                            customers_ and they are yours to copy and profit from. The training                         ..,,
                            includes ninja techniques for doubling (or tripling) your open rates              ·c~·
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                   consistent income and               3-101
                                         BIG paydays from your list Filed 06/04/18 Page 103 of 135 PageID 4360




                        How To Build A Funded Proposal ($194 value)

                       This system shows network marketers how to profit while they build
                       a List of prospects for their downline-instead of losing money up
                        front (Network marketers are a great source of buyers _ I know
                        because I was one mysel0. You'll learn the "hidden· secrets of 6 and
                        ?•figure network marketers that 97'% of the industry has absolutely
                        no clue about The VAST majority of training on this subject is not
                       only WRONG It's flat-out harmful This program reveals what
                       actually works. so you can avoid common mistakes and copy what the richest network
                        marketers in the world usually only talk about "behind closed doors·




                       Affiliate Bonus Domination ($291 value)

                       This program teaches a radical new wayto dominate product
                        launches. win $1000s in prize money. and collect BIG
                       commission checks WITHOUT having a big list or any products
                       of your own You'll learn the breakthrough techniques I
                        invented when I was a ·small fish· just getting started to beat
                       some of the biggest gurus al their own game and achieve Top
                        lO St1Jtus multiple times in major product launches Note: This
                       works even if you have N O list and are a brand new affiliate.




                       The O.P.T. Formula ($194 value>

                        Using strategies made popular by the 4 Hour Workweek by Tim
                        Ferriss, this comprehensive video t raining will show you how to
                        leverage "other people's time· to make YOU more money
                       Outsourcing your monotonous tasks for pennies on the dollar will
                        make you "time rich" -so you can make more money faster and
                        have the time to enjoy it

                        But that's not all ...


                        t)   Dally Training Weblnars


                       You are NOT alone. You will learn exactly how to use the MOBE program and how to gel
                        paid _ PLUS several pain- free methods of driving traffic that anyone can do regardless of
                        their current financial situation or experience level.

                       You will get access to dally weblnars from my coaching team to answer ALL your
                       questions and show you the most effective ways to get leads and j ump-start your business

                       These consultants are ALL online marketing experts and can answer all your questions
                       about MOBE and how to get commissions within the first few weeks ofjoining

                        Now there is a whole lot more you get with MOBE Silver Certification that I won't go into
                        here. including additional training. support and offers to promote. To read the full details and
                        take advantage of this amazing opportunity, click below




                                                                              ifo Silver


                                                 WARNING:
                                       This Opportunity May Not Last ...
                        Like I said before. many companies charge $10.000 <or morel just to license a SINGLE
                        product of theirs I reserve the right to raise the price for this program at any time. and may
                       do so without warning
                                                                   PX 77                                       FTC-MOBE-004243
                                                  So take advantage of this now while you still can Apply at the link below now
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                                                                              Take Me To Silver

                                                  If you aren't interested in earning higher commissions at this time and would like to join the
                                                  MOBE Marketing System to promote products where you will get 10% - 50% commissions,
                                                  apply at the link below now.



                                                      - -~ pply Now For Ttie MO E Marl<etmg System- -


                                                  After you apply. one of my coaches will give you a call to discuss your application This is a
                                                  no-pressure call you and the coach will go over the program to make sure MOBE is a good
                                                  fit for you.

                                                  To Your Success.




                                                  MATT LLOYD

                                                  P.S. MOBE is truly unique. You will NOT find another successful online company willing to
                                                  share the commissions on their back-end sales You can join a WINNING team and share in
                                                  the consistent. reliable profits that my company is generating and willing to share with you.

                                                  Nothing is going to change in your life on its own Money is NOT going to fall from the sky
                                                  You have to make a choice and take action in order to get what you wanl Make that
                                                  decision and apply today.

                                                  P.P.S. Remember. you can leverage my business model and potentially earn up to
                                                  thousands (or more) per month WITHOUT creating your own products, WITHOUT doing any
                                                  selling, and W ITHOUT dealing with customers. All you have to do is drive traffic into my
                                                  tested and proven sales funnels and we do the resl We will convert your leads into buyers
                                                  for our front-end products-some of the highest-converting products in the home business
                                                  niche-and pay you up to go% commissions. Then we will convert those buyers into higher-
                                                  ticket programs and send you up to S1.250 for EACH back-end sale. We will even coach you
                                                  on how to implement the program and drive traffic to our offers'

                                                  But you have to take action now. Click on the button below to apply.




                                                                              Take Me To Silver

                                                                     Apply Now For The MOBE Marketing
                                                                                  System




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